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IN THE UNITED sTATEs DIs'rRIcT coURT mo EY
FoR THE wEsTERN DISTRICT oF TENNESSEE _'

WESTERN DIVISION USJUN_a AH 6:52

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CLEHK. U.S. DIST. CT.
W D. CF TN. MI-II\JGP.L~§:S

.__ ___-_D.G

 

PHILLIP E. BO?|TNTON,r et al.,
Plaintiffs,
No. 02-1111 Ml/An

V.

HEADWATERS, INC., et al.,

vwv-_¢`r'_rv-_¢v

Defendants.

 

ORDER ADOPTING MAY 9, 2005, REPORT AND RECOMMENDATION

 

The Court previously referred Plaintiffs' Motion to Compel,
filed December 17, 2004, to the Magistrate Judge for Report and
Recommendation. The Magistrate Judge submitted a Report and
Recommendation on February 16, 2005, which delineated a procedure
by which Plaintiffs’ motion would be resolved. On March lO, 2005,
the Court adopted the Magistrate Judge's February 16, 2005, Report
and Recommendation. The parties subsequently complied with the
procedure delineated by the Magistrate Judge. On May 9, 2005, the
Magistrate Judge filed a supplemental Report and Recommendation
granting in part and denying in part Plaintiffs' motion.

No objections to the Magistrate Judge’s May 9, 2005, Report
and Recommendation were filed.

Upon de novo review of the Magistrate Judge’s report, the
Court agrees that Plaintiffs' motion should be granted in part and
denied in part. The Court therefore ADOPTS the Report and
Recommendation in its entirety.

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with Ruie 58 andfor 79{3)

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So ORDERED this oil day of June, 2005.

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JO MCCALLA
U ITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 358 in
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Honorable Jon McCalla
US DISTRICT COURT

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